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 5

 6 Attorney for Defendant
     TESLA, INC.
 7

 8                           UNITED STATES DISTRICT COURT
 9                     NORTHERN DISTRICT OF CALIFORNIA
10

11 SHAMEIM LOWTHER,                             Case No. 3:21-cv-04735-EMC
                                                (Assigned for All Purposes to the Hon.
12              Plaintiff,                      Edward M. Chen)
13        v.                                    STIPULATION TO:
14 TESLA, INC.,                                 (1) CONTINUE APRIL 7, 2022 CASE
                                                MANAGEMENT CONFERENCE
15              Defendant.                      AND RELATED DEADLINES; AND
16                                              (2) CONTINUE APRIL 7, 2022
                                                HEARING ON DEFENDANT TESLA,
17                                              INC.’S MOTION TO COMPEL
                                                ARBITRATION AND STAY
18                                              PROCEEDINGS
19                                              [Filed concurrently with (Proposed)
                                                Order]
20
                                                Complaint Filed: June 21, 2021
21                                              Trial Date: None.
22

23        IT IS HEREBY STIPULATED, by and between Plaintiff Shameim Lowther
24 (“Plaintiff”) and Defendant Tesla, Inc. (“Defendant”) (Plaintiff and Defendant are

25 collectively referred to herein as the “Parties”), by and through Plaintiff, proceeding pro

26 se, and Defendant’s counsel of record, as follows (the “Stipulation”):
27        WHEREAS, on March 9, 2022 the Court continued the previously set Case
28 Management Conference and hearing on Tesla’s pending Motion to Compel Arbitration to
                                                 1
      STIPULATION TO CONTINUE APRIL 7, 2022 CASE MANAGEMENT CONFERENCE AND HEARING ON
         DEFENDANT TESLA, INC.’S MOTION TO COMPEL ARBITRATION AND STAY PROCEEDINGS
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 1 April 7, 2022, and ordered Plaintiff and Tesla to file a Joint Case Management Statement

 2 on or before March 31, 2022 (D.E. 35);

 3        WHEREAS, on March 25, 2022, Plaintiff filed an Administrative Motion and
 4 [Proposed] Order to Change Deadline for Filing Case Management Statement Due 3-31-

 5 2022, requesting that the deadline to submit Case Management Statements be continued to

 6 April 28, 2022 (D.E. 36);

 7        WHEREAS, on March 29, 2022, Plaintiff requested that Tesla file a stipulation as
 8 soon as possible to continue the April 7, 2022 Case Management Conference and Hearing

 9 on Tesla’s Motion to Compel Arbitration;

10        WHEREAS, Tesla is amenable to continuing (1) the deadline to submit a Joint Case
11 Management Statement to April 28, 2022; and (2) the Case Management Conference and

12 Hearing on Tesla’s Motion to Compel Arbitration to May 5, 2022, as requested by Plaintiff;

13        THEREFORE, the Parties hereby stipulate and request that the Court continue the
14 Case Management Conference and Hearing on Tesla’s Motion to Compel Arbitration to

15 May 5, 2022, with Case Management Statements due on or before April, 28, 2022

16 DATED: March 31, 2022                          Respectfully submitted,
17                                                SHAMEIM LOWTHER
18                                                By: /s/ Shameim Lowther
                                                  Shameim Lowther, Pro Se
19
20 DATED: March 31, 2022                          Respectfully submitted,
21                                                TESLA, INC.
22                                                By: /s/ Kiran S. Lopez
                                                  Kiran S. Lopez
23                                                Attorney for Defendant Tesla, Inc.
24                                       ATTESTATION
25       I attest that all other signatories lists, and on whose behalf this filing is submitted,
26 concur in the filing’s content and have authorized the filing.
27
   Dated: March 31, 2022                                    /s/ Kiran S. Lopez
                                                              Kiran S. Lopez
28
                                                 2
      STIPULATION TO CONTINUE APRIL 7, 2022 CASE MANAGEMENT CONFERENCE AND HEARING ON
         DEFENDANT TESLA, INC.’S MOTION TO COMPEL ARBITRATION AND STAY PROCEEDINGS
       Case 3:21-cv-04735-EMC Document 37 Filed 03/31/22 Page 3 of 3



 1                                         PROOF OF SERVICE

 2          I, William Nervis, declare:
 3
             I am a citizen of the United States and employed in Alameda County, California. I am
 4   over the age of eighteen years and not a party to the within-entitled action. My business address
     is 901 Page Ave., Fremont, CA 94538. On March 31, 2022, I filed a copy of the within
 5   document(s):
 6                                          STIPULATION TO:
 7   (1) CONTINUE APRIL 7, 2022 CASE MANAGEMENT CONFERENCE AND RELATED
                                   DEADLINES; AND
 8    (2) CONTINUE APRIL 7, 2022 HEARING ON DEFENDANT TESLA, INC.’S MOTION
                 TO COMPEL ARBITRATION AND STAY PROCEEDINGS
 9

10           by transmitting via facsimile the document(s) listed above to the fax number(s) set forth
              below on this date before 5:00 p.m.
11
             by filing the document(s) listed above for electronic filing via ECF/PACER from San
              Francisco, California.
12
             by placing the document(s) listed above in a sealed                 envelope and affixing a
              pre-paid air bill, and causing the envelope to be delivered to a Delivery Service agent for
13
              delivery.
14
             by personally delivering the document(s) listed above to the person(s) at the address(es)
              set forth below.
15

16
             by transmitting via my electronic service address (wnervis@tesla.com) the document(s)
              listed above to the person(s) at the e-mail address(es) set forth below.

17

18          I am readily familiar with the firm's practice of collection and processing correspondence
19   for mailing. Under that practice it would be deposited with the U.S. Postal Service on that same
     day with postage thereon fully prepaid in the ordinary course of business. I am aware that on
20   motion of the party served, service is presumed invalid if postal cancellation date or postage
     meter date is more than one day after date of deposit for mailing in affidavit.
21
              I declare under penalty of perjury under the laws of the State of California that the above
22
     is true and correct.
23
            Executed on March 31, 2022, at San Francisco, California.
24

25
                                                                      William Nervis
26
27

28
                                                      -1-
                                              PROOF OF SERVICE
